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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


SHEILA RUSSELL, JIM SPLAIN,                      No. 4:14-CV-00148
SUE SPLAIN, JANELLE SPLAIN,
SUSAN HOUSEL, JOHN CHAFFEE,                      (Judge Brann)
CAROL FRENCH, CLAUDE
ARNOLD, LYNSEY ARNOLD,
CAROLYN KNAPP, N.K., A
MINOR BY CAROLYN KNAPP,
GUARDIAN, M.K., A MINOR BY
CAROLYN KNAPP, GUARDIAN,
and ALLISON KOLESAR,

              Plaintiffs,

       v.

CHESAPEAKE APPALACHIA,
L.L.C.,

              Defendant.


                                     ORDER

                               DECEMBER 27, 2018

       In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

  1.        Defendant’s Motion for Summary Judgment, ECF No. 66, is

            GRANTED.
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2.    The Clerk of Court is directed to enter judgment in favor of Defendant

      and to close this case.


                                       BY THE COURT:



                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge
